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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
BASILIO RODRIGUEZ,                                                     :
                                                                       :
                                      Plaintiff,                       :
                                                                       :
                   -against-                                           :
                                                                       :   COMPLAINT
DAONA INC. d/b/a DAONA, ZOA 73                                         :
MARKETPLACE INC. d/b/a DAONA                                           :
MARKETPLACE, MODUWA 84 INC. d/b/a                                      :
MODUWA YORK 84, and IL KWANG NOH                                       :
                                                                       :
                                      Defendants.                      :
---------------------------------------------------------------------- X

       Plaintiff Basilio Rodriguez (“Rodriguez” or “Plaintiff”), by his attorneys Pechman

Law Group PLLC, complaining of Defendants Daona Inc. d/b/a Daona, Zoa 73

Marketplace Inc. d/b/a Daona Marketplace, Moduwa 84 Inc. d/b/a Moduwa York 84

(collectively, the “Grocery Stores”), and Il Kwang Noh (collectively with the Grocery

Stores, “Defendants”), alleges:

                                  NATURE OF THE COMPLAINT

       1.       Plaintiff is a former stocker, janitor, and flower organizer at Defendants’

Grocery Stores, three gourmet grocery stores on the Upper East Side of Manhattan.

Plaintiff regularly worked sixty hours or more per week throughout his employment, but

Defendants paid him on a weekly salary basis that failed to compensate Plaintiff for

regular hours worked at the statutory minimum wage rate and failed to provide Plaintiff

with overtime pay for hours worked over forty per workweek. Defendants also failed to

provide Plaintiff with: (1) spread-of-hours pay when he worked shifts spanning over ten

hours, (2) wage notices at his time of hire, and (3) accurate wage statements with each

payment of wages.
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      2.       Plaintiff brings this action to recover his unpaid minimum and overtime

wages, spread-of-hours pay, liquidated damages, statutory damages, pre-and post-

judgment interest, and attorneys’ fees and costs pursuant to the Fair Labor Standards Act,

29 U.S.C. § 201, et seq. (“FLSA”), the New York Labor Law § 190, et seq. (“NYLL”), and the

NYLL’s Wage Theft Prevention Act, NYLL §§ 195, 198 (“WTPA”).

                                     JURISDICTION

      3.       This Court has subject matter jurisdiction over this case pursuant to 29

U.S.C. § 216(b) and 28 U.S.C. §§ 1331 and 1337 and has supplemental jurisdiction over

Plaintiff’s NYLL claims pursuant to 28 U.S.C. § 1367.

                                         VENUE

      4.       Venue is proper in the Southern District of New York under 28 U.S.C. § 1391

because the events giving rise to Plaintiff’s claims occurred at the Grocery Stores, which

are located and operated by Defendants in the Southern District of New York.

                                      THE PARTIES

Plaintiff Basilio Rodriguez

      5.       Basilio Rodriguez resides in Bronx County, New York.

      6.       Defendants employed Rodriguez as a stocker, janitor, and flower organizer

from approximately September 2018 through September 2022.

The Corporate Defendants

      7.       Defendant Daona Inc. is a New York corporation that owns, operates, and

does business as Daona, a grocery store located at 201 East 81st St, New York, NY 10028

(“Daona”).

      8.       Defendant Zoa 73 Marketplace is a New York corporation that owns,

operates, and does business as Daona Marketplace, a grocery store located at 1357 1st

Ave, New York, NY 10021 (“Daona Marketplace”).


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        9.       Defendant Moduwa 84 Inc. is a New York corporation that owns, operates,

and does business as Moduwa York 84, a grocery store located at 1592 York Avenue, New

York, NY 10028 (“Moduwa 84”).

        10.      Throughout Plaintiff’s employment, each of the Grocery Stores had

employees engaged in commerce or in the production of goods for commerce and

handling, selling, or otherwise working on goods or materials that have been moved in

or produced for commerce by any person.

        11.      In the three years preceding the filing of this Complaint, the Grocery Stores,

individually and collectively, have had an annual gross volume of sales in excess of

$500,000.

        12.      Throughout Plaintiff’s employment, the Grocery Stores employed at least

eleven employees.

Defendant Il Kwang Noh

        13.      Defendant Il Kwang Noh (“Noh”) is an owner and principal of each of the

Grocery Stores.

        14.      Noh is identified as a principal of each of the Grocery Stores in New York

State Liquor Authority filings.

        15.      At all relevant times, Noh held and exercised power and authority over

personnel decisions at the grocery stores, including the power to discipline employees,

hire and fire employees, set employee schedules, set employee wage rates, retain time

and/or wage records, and otherwise control the terms and conditions of their

employment.

        16.      For example, Noh hired and fired Rodriguez.

        17.      Noh set Rodriguez’s schedule at the Grocery Stores and determined his pay

rate.


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        18.   If Rodriguez had to miss a day of work, he would inform Noh.

        19.   Noh distributed Rodriguez’s and other employees’ pay.

        20.   Noh was present on a near-daily basis at each of the Grocery Stores and

oversaw operations.

        21.   Noh exercised sufficient control over the Grocery Stores’ operations and

Plaintiff’s employment to be considered Plaintiff’s employer under the FLSA and the

NYLL.

The Grocery Stores Operated as a Single Integrated Enterprise and/or Jointly
Employed Plaintiff

        22.   Throughout Plaintiff’s employment, the Grocery Stores operated as a single

integrated enterprise jointly employing Plaintiff.

        23.   Although registered as individual corporate entities, the Grocery Stores are

under common ownership and management.

        24.   For example, Noh is the owner of all three Grocery Stores.

        25.   Noh exercised operational control and authority, including control and

authority over personnel policies and practices, over each of the Grocery Stores.

        26.   This common control and management resulted in the common control of

labor relations among the Grocery Stores, including common wage payment and

employee policies and practices.

        27.   For example, Noh assigned Rodriguez to work at each of the Grocery Stores

throughout his employment.

        28.   Regardless of which of the Grocery Stores Rodriguez was assigned to work

at by Defendants, Rodriguez’s regular schedule, rate of pay, and employment duties

remained the same.

        29.   Defendants also transferred other employees among the Grocery Stores.



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        30.   The Grocery Stores use the same suppliers for produce and Defendants

transfer produce among the Grocery Stores.

                              FACTUAL ALLEGATIONS

Basilio Rodriguez’s Hours Worked and Pay

        31.   Rodriguez worked as a stocker, janitor, and flower organizer throughout

his employment at the Grocery Stores.

        32.   From approximately September 2018 through December 2019, Defendants

assigned Rodriguez to work at Moduwa 84.

        33.   During this period, Rodriguez regularly worked from 7:00 a.m. to 5:00 p.m.,

six days per week (Monday through Saturday), totaling approximately sixty hours per

workweek.

        34.   From approximately January 2020 through February 2022, Rodriguez

worked at Daona.

        35.   During this period, Rodriguez regularly worked from 7:00 a.m. to 5:00 p.m.,

six days per week (Monday through Saturday), totaling approximately sixty hours per

workweek.

        36.   From approximately March 2022 through September 2022, Rodriguez

worked at Daona Marketplace.

        37.   During this period, Rodriguez regularly worked from 7:00 a.m. to 5:00 p.m.,

six days per week (Monday through Saturday), totaling approximately sixty hours per

week.

        38.   Throughout his employment at the Grocery Stores, Rodriguez worked up

to eighteen hours per day on holidays such as Valentine’s Day, Easter, Mother’s Day,




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Memorial Day, Fourth of July, Father’s Day, Thanksgiving, Christmas Day, and New

Year’s Day.

      39.     From approximately September 2018 through September 2019, Defendants

paid Rodriguez $800 per workweek.

      40.     From approximately October 2019 through September 2022, Defendants

paid Rodriguez $850 per workweek.

      41.     At points during his employment, Plaintiff’s regular wage rate fell below

the statutory minimum wage rate for large employers in Manhattan.

      42.     Defendants did not pay Plaintiff spread-of-hours pay on days when he

worked shifts spanning over ten hours.

      43.     Defendants did not provide Plaintiff with wage notices at his time of hire

or when his wage rate changed.

      44.     Throughout his employment, Defendants paid Plaintiff’s wages without

accompanying wage statements accurately reflecting, inter alia, his hours worked, and

hourly rate paid.

                                    FIRST CLAIM
                           (NYLL – Unpaid Minimum Wages)

      45.     Plaintiff repeats and incorporates all foregoing paragraphs by reference.

      46.     Defendants are employers within the meaning of the NYLL §§ 190, 651(6),

652, and supporting New York State Department of Labor (“NYDOL”) regulations and

employed Plaintiff.

      47.     The NYLL and supporting NYDOL regulations require that employers pay

employees at least the minimum wage for each hour worked up to forty per workweek.

      48.     Defendants failed to pay Plaintiff the minimum wages to which he was

entitled under the NYLL.



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       49.    Defendants willfully violated the NYLL by knowingly and intentionally

failing to pay Plaintiff minimum wages.

       50.    As a result of Defendants’ violations of the NYLL, Plaintiff is entitled to

recover his unpaid minimum wages, liquidated damages, pre- and post-judgment

interest, and reasonable attorneys’ fees and costs.

                                      SECOND CLAIM
                               (FLSA – Unpaid Overtime Wages)

       51.    Plaintiff repeats and incorporates all foregoing paragraphs by reference.

       52.    Defendants are employers within the meaning of 29 U.S.C. §§ 203(d) and

207(a) and employed Plaintiff.

       53.    Defendants were required to pay Plaintiff one and one-half (1½) times his

regular hourly rate for all hours worked in excess of forty hours per workweek pursuant

to the overtime wage provisions set forth in the FLSA, 29 U.S.C. § 207, et seq.

       54.    Defendants failed to pay Plaintiff the overtime wages to which he was

entitled under the FLSA.

       55.    Defendants willfully violated the FLSA by knowingly and intentionally

failing to pay Plaintiff overtime wages.

       56.    Defendants were aware or should have been aware that the practices

described in this Complaint were unlawful and did not make a good faith effort to

comply with the FLSA with respect to Plaintiff’s compensation.

       57.    As a result of Defendants’ violations of the FLSA, Plaintiff is entitled to

recover his unpaid overtime wages, liquidated damages, pre- and post-judgment interest,

and reasonable attorneys’ fees and costs.




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                                       THIRD CLAIM
                               (NYLL – Unpaid Overtime Wages)

       58.    Plaintiff repeats and incorporates all foregoing paragraphs by reference.

       59.    Pursuant to the NYLL and supporting NYDOL regulations, including 12

N.Y.C.R.R. § 142-2.1, Defendants were required to pay Plaintiff one and one-half (1 ½)

times his regular rate of pay, which shall not be less than the minimum wage rate, for all

hours worked over forty per workweek.

       60.    Defendants failed to pay Plaintiff the overtime wages to which he was

entitled under the NYLL and its supporting regulations.

       61.    Defendants willfully violated the NYLL and its supporting regulations by

knowingly and intentionally failing to pay Plaintiff overtime wages.

       62.    As a result of Defendants’ willful violations of the NYLL, Plaintiff is entitled

to recover his unpaid overtime wages, liquidated damages, pre- and post-judgment

interest, and reasonable attorneys’ fees and costs.

                                      FOURTH CLAIM
                                 (NYLL – Spread-of-Hours Pay)

       63.    Plaintiff repeats and incorporates all foregoing paragraphs by reference.

       64.    Defendants willfully failed to pay Plaintiff additional compensation of one

hour’s pay at the statutory minimum wage rate for each day during which he worked

shifts spanning over ten hours, in violation of the NYLL and its supporting NYDOL

regulations, including 12 N.Y.C.R.R. § 142-2.4.

       65.    As a result of Defendants’ willful violations of the NYLL, Plaintiff is entitled

to recover his unpaid spread-of-hours pay, liquidated damages, pre- and post-judgment

interest, and reasonable attorneys’ fees and costs.




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                                    FIFTH CLAIM
                      (NYLL WTPA – Failure to Provide Wage Notices)

       66.    Plaintiff repeats and incorporates all foregoing paragraphs by reference.

       67.    The NYLL’s WTPA requires employers to provide all employees with a

written notice of wage rates at the time of hire and whenever there is a change to an

employee’s rate of pay.

       68.    In violation of NYLL § 195(1), Defendants failed to furnish Plaintiff at the

time of hiring, or whenever his rate of pay changed, with a wage notice containing the

rate or rates of pay and basis thereof, whether paid by the hour, shift, day, week, salary,

piece, commission, or other; allowances, if any, claimed as part of the minimum wage,

including tip, meal, or lodging allowances; the regular pay day designated by the

employer in accordance with NYLL § 191; the name of the employer; any “doing business

as” names used by the employer; the physical address of the employer’s main office or

principal place of business, and a mailing address if different; the telephone number of

the employer, and anything otherwise required by law.

       69.    As a result of Defendants’ violations of NYLL § 195(1), Plaintiff is entitled

to recover statutory damages and reasonable attorneys’ fees and costs, pursuant to NYLL

§ 198(1–b)

                                    SIXTH CLAIM
                (NYLL WTPA – Failure to Provide Accurate Wage Statements)

       70.    Plaintiff repeats and incorporate all foregoing paragraphs.

       71.    The NYLL’s WTPA requires employers to provide all employees with a

written notice of wage rates at the time of hire and whenever there is a change to an

employee’s rate of pay.

       72.    Defendants failed to furnish Plaintiff, with each payment of wages, with a

statement accurately listing: rate or rates of pay and basis thereof, whether paid by the


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hour, shift, day, week, salary, piece, commission, or other; the regular hourly rate or rates

of pay; the overtime rate or rates of pay; the number of regular hours worked, and the

number of overtime hours worked; gross wages; deductions; allowances, if any, claimed

as part of the minimum wage; and net wages; in violation of NYLL § 195(3).

       73.      As a result of Defendants’ violations of NYLL § 195(3), Plaintiff is entitled

to recover statutory damages and reasonable attorneys’ fees and costs, pursuant to NYLL

§ 198(1-d).

                                   PRAYER FOR RELIEF

           WHEREFORE, Plaintiff respectfully requests that this Court:

               a.     declare that Defendants violated the minimum wage provisions of

the NYLL and supporting NYDOL regulations;

               b.     declare that Defendants violated the overtime wage provisions of the

FLSA, the NYLL, and supporting regulations;

               c.     declare that Defendants violated the spread-of-hours pay provisions

of the NYLL and supporting regulations;

               d.     declare the Defendants violated the wage notice and wage statement

provisions of the NYLL’s WTPA;

               e.     declare that Defendants’ violations of the FLSA and the NYLL were

willful;

               f.     enjoin and permanently restrain Defendants from further violations

of the FLSA and NYLL;

               g.     award Plaintiff damages for unpaid minimum and overtime wages;

               h.     award Plaintiff damages for unpaid spread-of-hours pay;

               i.     award Plaintiff liquidated damages;




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